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                EXHIBIT 41
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                                          Lifestyle Drug Monitoring Program


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General Description
       Task: This procedure outlines requirements and activities to proactively review customer's purchases of DEA Identified "Lifestyle Drugs"
             and actions to take based upon analysis of customer purchases.


    Purp ose: McKesson has been proactively working with the DEA to enhance current practices for the monitoring and review of suspicious
              orders. Trends in the marketplace require McKesson to reevaluate the methodology utrlized to review customer orders and their
              business models.

              The DEA expects the supplier to "know their customer". This means understanding the customer's business, why they purchase
              as well as how much they purchase. Factors such as type of business, internet activities, type and quantity of products purchased
              should be considered wnen evaluating a customer,

              Re po rts

              Two Business Objects reports, Daily Dosage Summary Report and Dosage Limit Tracking Detail, have been developed to allow
              McKesson to monitor customer purchases of controlled substances by the net number of dosage units sold based on the DEA's
              Controlled Substance Generic Base Code ID. McKesson will investigate customer activity when sales of a given generic base
              ingredient exceed a predefined dosage unit threshold within a calender month. I nitially all Items will be Investigated at the same
              threshold level, however the level may be changed per Item at Regulatory Affairs descressfon. The same dosage threshold will be
              used for all classes of customers,

              This reporting process Is targeting controlled substances that the DEA considers "lifestyle'' drugs. These drugs are highly abused
              and are commonly found In illegal internet pharmacies.
              Currently, the controlled substances being monitored by these reports are:
                   Ge neric in gredi ent    Base code      Dos ag e T1'1resho ld
                   Oxycodone          9143        8,000
                   Hydrocodone          9193        8,000
                   Alprazalam         2882        8,000
                   Phentermlne         1640        8,000

              Additions or deletions of items will be managed through the Regulatory Department by submitting a problem request to Business
              Intelligence- Functional (BI-FUNC).

              For the purpose of these reports, all sales to a DEA license number are being accumulated, therefore sales to mul(ple account
              numbers with the same DEA license number are consolidated. Sales are added together regardless of fill de.

              Daily Dosage Summary Re p ort
              This report Wiii summarize customers who have purchased quantities of all products containing the identified base code in excess
              of the threshold for the item. For example all sales and credits of Mckesson Items containing Hydrocodone will be added together
              and reported if the total doses e~ceeed 8,000 unit. The daily report Will systemically be sent via email to the DCM and their the
              designee, Sales Management, and Regulatory department. It will be the DCM's responsibility to review and act on the reports
              according to the processes listed below.

              Review of Summary Report

              The report will be generated as customers exceed the dosage unit threshold. Each customer appearing on the report must be
              evaluated to the legitimacy of their order quantity. Once an account appears on the report1 it wlll continue to show up on the
              report until the end of the month. You should start your evaluation when. the account appears on the report; do not wait until the
              end of the month to start the process.

              If the account is a large customer that McKesson expects to purchase in large quantities, for example: institutional, warehouse
              accourits, government, or mall order, then you will generally only have to perform a Level I review. However, large spikes of-any
              customer Including hospitals, warehouse accounts, or government accounts must be evaluated.



http://mcknethost.mckesson.com/distops/Manuals/MOM/zav_ MOM-CTRL-004.asp                                                              5/16/2007
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              Generic Dosage Limit Trac king Detail Report
              This is an on demand report that allows a DC to research a customer that has been reported on the Summary Report. Once a
              customer has been identified from the summary report, t hls report will provide detail of all sales and credits during any given time
              frame.

              The user logs into Business Objects, runs the report and enters ttie DEA numbers and dates of Interest.

              Manually Running Re ports
              Both reports can be run manually within Business Objects, t hey are locat ed in the Corporate Documents folder .

              Since the reports may run a long time, the user should run these reports using the Business Objects PC client rather than through
              the Business Objects web Interface. lJsing the web interface, the reports may time out before completion.

              Download and Install the "Business Objects Full Client Reporter'' following the instructions found on the Business Objects home
              page at Business Objects.

              Access to Business Objects is granted by making a standard request to IT Security. Complete an Online Access Request at On
              J,.ine Security Reg_uest form .

              Problems with installing or using Business Objects should be addressed by calling the McKesson Internal Help Desk at 888-
              HELPMCK.



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Author / Owner
   Author: Keith Mcintyre


 Document Gary Hilliard
     Owner:


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Overview of Detailed Steps

        1.      Level I Review
       2.       Level II Review
       3.       Level III Review
       4.       Af:t.ions if sales are not approv~c!
       5.       LQMP Approvi!I         ~ ~ign     Off Proces~
        6.      Record Retention Meth.ology

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Detailed Steps

        1.      Level I Review


                      1.1    If the customer appears on a previous month's report for the same item


                             Evaluate the customer's purchases relative to the past three· month's purchases. The evaluation should Include
                             but not necessarily be limited to the foilowing criteria :
                                  •   Previous sales were validated and approved.
                                  •   Sales have not Increased more than 25% from any previous month .
                                  •   Sales are not incr easing steadlfy.
                                  •   Sales are consistent with the customer type.
                                  •   Sales are consistent with any previous Sales or Customer communication .

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                           Document fhi di,ngs on the LDMP Tracking Spreadsheet.


                    1.2    Determine if the sales are approved or inconclusive

                           if the evaluation lndicates that the customer's purchases are reas.onable and that no further investigation is
                           required, proceed to the LDMP Approval and Sign Off Step. Tf the evaluation is Inconclusive continue to the next
                           step to gather and analyze furth~r Information.




                    1.3    If this is the first time the item has been listed for the customer or further
                           investigation is indicated

                           Proceed with the following evaluation steps until sales are determined to be reasonable for the customer.
                                •   Generate and review the Dosage Umit Oetail Report for the customer for the previous 6 months. Use
                                    this to review the last 6 months sales for any trends.
                                •   Review daily DU45 Suspicious Orders Report for entries for this customer. Has the customer appeared
                                    prevtousiy? Have we reported their sales to the DEA via the DU45?
                                •   Review Customer Purchasing Profile if one has has been completed; are sales consistent With their
                                    profile.?
                                •   Perform a web search on the customer to review possible busrness practices
                                •   Contact the appropriate Sales representative to determine reasoning behind the sales.
                                •   Contact the customer to inquire on safes volume, expected volume and nature of business.

                           Document find ings on the LDMP Tracking Spreadsheet.


                    1.4    Determine if the sales are approved or inconclusive


                           1f the evaluation indicates that the customer's pUTchases are reasonable and that no further investigation is
                           required, proceed to the LDMP Approval and Sign Off Step.

                           If the evaluation is not conclusive:
                                •   Begin cutting order quantities on identrfled Items
                                +   Escafate to the Level lI Review




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      2.     Level II Review


                    2.1    Notify management that a Le vel II Review has been initiated

                           Emai l the VPDO and the Director or VP of Regulatory Affairs to notify them that a Level II Review nas been
                           started.


                    2 .2   Conduct a customer site examination

                           Visit the customer' s site with the intent to observe their location and clientele. Observations should Include
                           items such as the followrng :
                                 •    Customer Traffic • does the customer volume seem in line with their bl1slnP.ss ~ypP.?
                                 •    Slgnage - does the customer advertise themselves to the public io a manner consistent with their
                                      busfness type?
                                 •    LOcation - is the customer's business in a site that appears consistent with t heir business type and
                                      volume? For example, consider the area's population and surrounding businesses.
                                 •    Store Size - does the customer's square footage appear to be appropriate for their business type and
                                      volume?

                           Document findings on the LDMP Tracking Spreadsheet.


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                   2.3   Conduct an interview with the customer

                         If evidence is not conclusive at this point, the customer must be contacted and an interview conducted with
                         them regarding their purchases. Thfs meeting should be conducted with representation from both Sales and
                         Operations.

                         At t he conclusion of the interview, the customer signs the Customer Declaration of Controlled Substance
                         Purchases attesting to their business practices. After tlie interview, the McKesson representative will complete
                         and sign off on the LDMP Questionnaire; this questionnaire will summarizes the customer's responses.

                         Importa nt: The customer is not allowed to complete the questionnaire themselves, the questfonnarre is meant
                         to document Interactive communications between McKesson and the custom er ,

                         Instructions for performing the Interview
                         1.   Notify t he appropriate Sales team member that an interview must be eonducted with the customer.
                         2.   Sales or Operations should contact the customer and request a meeting at a ml.jtually agreed upon date
                              and tlme.
                                   + Schedule the meeting for as soon as is possible for all parties; the DEA expects McKesson's
                                         responses to suspicious activities to be prompt and timely.
                                   •     Ensure that the C·ustomer under-Stands that McKesson Is performi ng due dlligence activities for the
                                         benefit of both McKesson and the customer.
                         3.   Print and review the LDMP Questionnaire and Customer Declaration of Controlled Substance Purchases prior
                              to visiting the customer,
                         4.   Conduct tlie interview.
                         5.   Have the customer sign the declaration.
                         6.   Thank the customer and exrt the Interview
                         7.   Complete and sign the LDMP Questionnaire based Upon responses provided by the customer.

                         Document findings on the LDMP Tracking Spreadsheet.




                   2.4   Determine if the sales are approved or inconclusive

                         If the evaluation Indicates that the customer's purchases are reasonable and that no further investig<1tion is
                         required, proceed to ttie LDMP Approval and Sign Off Step.

                         ff the evaluation is not conclusive, ,escalate to the Level TU Review.



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      3,    Level III Review

                   3.1   Contact Home Office

                         If Level I arid Level ll reviews have not been conclusive, Distribution and Sales should contact the Director or
                         Vice President of Regulatory Affairs to discuss finding and determine next steps. The Regional SVP should be
                         notified at this time regarding the escalation of review.


                   3.2   Contact the local DEA office

                         The local DEA office should be contacted to determine if the account is in good standing with the agency; this
                         will be done by DC Managment or Regulatory Affairs. Findings must be shared between DC Management and
                         Regulatory Affairs.


                   3.3   Senior Management Review of Findings

                         Regulatory Affairs will schedule and conduct meetings with the Law Department and Senior Management to
                         present the findings of the revtew process and diSCl.jSS next steps.


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                    3.4    Conta ct DEA Headquarters

                           With the Law Department's guidance, Regulatory Affairs or Counsel will contact ttie DEA Headquarters to discuss
                           ow findi ngs.

                    3.5    Fina l dete rmination if the sales a r e approved or i nconclusive


                           The final review of customer pun:hases and decisions regarding their purchases will be determined by the Law
                           Department and Senior Vice President.



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      4.     Actions if sales are not approved

                    4.1    DEA Notification

                          Regulatory Affairs will notify the DEA Headquarters and Local Office of McKesson's findings and any decisions
                          regarding continued business with the customer.


                    4.2   Customer Notification

                          lf there are outcomes to the review that impact the customer reratlonship with McKesson, Sales or Distribution
                          Management Will notify the customer.



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      S.     LDMP Approval & Sign Off Process

             When a review ofn a customer's purchases is condutted, the attached form will be utillzed to document findings and McKesson
             Management sign off.

             Required Sign Offs:

             Level I Review:
             DC Manager

             Level U Review:
             DC Manager, Sales Manager, Vice President of Operations (VPDO), Director or Vice President of Regulatory Affairs

             Level Ill Review:
             DC Manager, Sales Manager, Vice President of Operations (VPDO), Regional SVP, Director or Vice President of Regulatory
             Affairs, SVP of Operations




      6.     Record Retention Methology

             Records will be maintained centrally by Regulatory Affairs although It ls recommended that t he DC maintaTn a copy for their
             own records as well. Reports will be emailed to Regulatory Affairs monthly or on an "as completed" basis depending on the
             docurrent.

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             Daily Dosage Tracking Reporting:
             The distriblJtion centers and Regulatory Affairs will maintain copies of the report generated on the last business day of the
             month for at feast two years. The. DC does not need to send a copy to flegu iatory Affairs, they recelve their own copy
             automatically.

             LDMP Tracking Spread sheet:
             This report should be completed and sent to Regulatory Affairs by the 10th of the month for the previous month's data.
              Copies should be maintained for at least t wo years.

             Email the report to Jan Phllllps at jan.phlllips@mckesson.com - in the subject include the following: "LDMP Tracking Report for
             DC xxx for month year".

             Example: LDMP Tracking Re port for DC 109 for May 2007

             Investigation Documentation:
             As each lnvestlgation is completed all the related documents should be c;ittached into a single emaTI to send to Regulatory
             Affairs. The number and type of supporting documents will depend on how in d-epth a review was necessary. The Daily
             Dosage Summary Report is not n eeded 1n the review's documentation because the DC and Re.g ulatory Affairs will be
             maintaining the last report for the month.

             Email the documentation to Jan Phllllps at jan.phlllfps@mckesson.com • In the subject Include the following text "customer
             DEA# '(YYYMM Level x Review"

             Example: PM0022929 200705 Level II Review



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Attachments
LDMP Tracking Log
!:e:iJ Click to Open or Save
LDMP Customer Questionnaire
Iii Click to Open or Save
LDMP Review McKesson Sign Off
Im Click to Open or Save
LD MP Customer Declaration of Controlled Substa nce Purchases
I~ Click tQ Open or Save

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                                           No email? Send your comments to: M_QM Feedback

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